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                  Exhibit 3
        House Bill 359, Version 4
       (Introduced April 17, 2023)
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  1                                           HOUSE BILL NO. 359

  2       INTRODUCED BY B. MITCHELL, E. BUTTREY, M. CUFFE, D. SALOMON, J. READ, T. MCGILLVRAY, K.

  3       REGIER, L. JONES, E. BUTCHER, B. KEENAN, C. GLIMM, G. HERTZ, M. LANG, D. LENZ, J. HINKLE, F.

  4     MANDEVILLE, T. MANZELLA, W. MCKAMEY, M. NOLAND, S. HINEBAUCH, S. GUNDERSON, M. REGIER,

  5         D. LOGE, R. FITZGERALD, F. ANDERSON, L. SHELDON-GALLOWAY, J. TREBAS, D. BARTEL, C.

  6       KNUDSEN, B. USHER, S. VINTON, B. BEARD, M. HOPKINS, N. DURAM, J. FULLER, R. KNUDSEN, K.

  7         BOGNER, B. GILLESPIE, J. KASSMIER, B. MERCER, T. MOORE, B. LER, B. PHALEN, F. NAVE, J.

  8           CARLSON, L. BREWSTER, K. ZOLNIKOV, A. REGIER, L. REKSTEN, P. FIELDER, S. KERNS, S.

  9      GALLOWAY, S. GIST, J. SCHILLINGER, K. SEEKINS-CROWE, M. MALONE, J. GILLETTE, C. HINKLE, M.

 10       BERTOGLIO, R. MARSHALL, C. FRIEDEL, S. ESSMANN, M. YAKAWICH, T. BROCKMAN, T. SMITH, R.

 11        MINER, G. PARRY, G. OBLANDER, N. NICOL, L. DEMING, D. EMRICH, S. VANCE, T. VERMEIRE, C.

 12            SPRUNGER, T. FALK, J. BERGSTROM, G. KMETZ, P. GREEN, J. ETCHART, B. BARKER, L.

 13                                  HELLEGAARD, Z. WIRTH, N. HASTINGS

 14

 15    A BILL FOR AN ACT ENTITLED: “AN ACT PROHIBITING MINORS FROM ATTENDING DRAG ADULT-

 16    ORIENTED SHOWS; PROHIBITING MINORS FROM ENTERING SEXUALLY ORIENTED ADULT-

 17    ORIENTED BUSINESSES; PROHIBITING DRAG ADULT-ORIENTED PERFORMANCES IN LIBRARIES OR

 18    SCHOOLS THAT RECEIVE STATE FUNDING; PROHIBITING DRAG PERFORMANCES ON PUBLIC

 19    PROPERTY WHERE CHILDREN ARE PRESENT; PROHIBITING DRAG PERFORMANCES IN A LOCATION

 20    OWNED BY AN ENTITY THAT RECEIVES STATE FUNDING; PROHIBITING ADULT-ORIENTED

 21    PERFORMANCES ON PUBLIC PROPERTY WHERE CHILDREN ARE PRESENT; PROHIBITING ADULT-

 22    ORIENTED PERFORMANCES IN A LOCATION OWNED BY AN ENTITY THAT RECEIVES STATE

 23    FUNDING; PROVIDING DEFINITIONS; AND AND PROVIDING PENALTIES; AND PROVIDING AN

 24    IMMEDIATE EFFECTIVE DATE.”

 25

 26    BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MONTANA:

 27


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  1            NEW SECTION. Section 1.         Definitions. As used in [sections 1 through AND 2], the following

  2    definitions apply:

  3            (1)      "Drag performance" means a AN OBSCENE performance in which a performer exhibits a gender

  4    identity that is different than the performer's gender assigned at birth using clothing, makeup, or other physical

  5    markers and sings, lip syncs, dances, or otherwise performs for entertainment to appeal to a prurient interest

  6    THAT FEATURES DRAG QUEENS, TOPLESS DANCERS, EXOTIC DANCERS, STRIPPERS, OR MALE OR FEMALE

  7    IMPERSONATORS OR SIMILAR ENTERTAINERS WHO PROVIDE ENTERTAINMENT THAT APPEALS TO A PRURIENT INTEREST IN

  8    SEX, REGARDLESS OF WHETHER OR NOT PERFORMED FOR CONSIDERATION .

  9            (2)      "DRAG QUEEN" MEANS A MALE OR FEMALE PERFORMER WHO ADOPTS A FLAMBOYANT OR PARODIC

 10    FEMININE PERSONA WITH GLAMOROUS OR EXAGGERATED COSTUMES AND MAKEUP .

 11            (3)      "DRAG STORY HOUR" MEANS AN EVENT HOSTED BY A DRAG QUEEN WHO READS CHILDREN'S BOOKS.

 12            (4)      "EXOTIC DANCER" MEANS AN INDIVIDUAL WHO DANCES OR PERFORMS IN A SEDUCTIVE OR

 13    PROVOCATIVE MANNER WHILE SCANTILY DRESSED OR WHILE GRADUALLY REMOVING THEIR CLOTHES PIECE BY PIECE .

 14            (5)      "MINOR" MEANS AN INDIVIDUAL UNDER 18 YEARS OF AGE.

 15            (1)      "Adult-oriented business" means a nightclub, bar, restaurant, or similar commercial enterprise

 16    that:

 17            (a)      provides for an audience of two or more individuals:

 18            (i)      live nude entertainment or live nude performances; or

 19            (ii)     an adult-oriented performance; and

 20            (b)      authorizes on-premises consumption of alcoholic beverages.

 21            (2)      "Adult-oriented performance" means a performance that, regardless of whether performed for

 22    consideration, is intended to appeal to a prurient interest in sex and features:

 23            (a)      the purposeful exposure, whether complete or partial, of:

 24            (i)      a human genital, the pubic region, the human buttocks, or a female breast, if the breast is

 25    exposed below a point immediately above the top of the areola; or

 26            (ii)     prosthetic genitalia, breasts, or buttocks; or

 27            (b)      sexual conduct.



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  1            (2)(6)(3)          "Nude" means:

  2            (a)        entirely unclothed; or

  3            (b)        clothed in a manner that leaves uncovered or visible through less than fully opaque clothing

  4    any portion of the breast below the top of the areola of the breasts if the person is female or any portion of the

  5    genitals or buttocks.

  6            (7)        "OBSCENE" HAS THE SAME MEANING AS PROVIDED IN 45-8-201.

  7            (3)(8)(4)          "PRURIENT INTEREST" MEANS HAVING A TENDENCY TO EXCITE LUSTFUL THOUGHTS.

  8    "PRURIENT INTEREST IN SEX" HAS THE SAME MEANING AS PROVIDED IN 45-8-205.

  9            (5)        "Public property" means any real property owned or leased, in whole or part, by the state or a

 10    political subdivision, as defined in 2-9-101, or held in the name of a political subdivision by a department, board,

 11    or authority of the state or a political subdivision.

 12            (3)(4)(9)          "Sexually oriented business" means a nightclub, bar, restaurant, or similar commercial

 13    enterprise that:

 14            (a)        provides for an audience of two or more individuals:

 15            (i)        live nude entertainment or live nude performances; or

 16            (ii)       a drag performance; and

 17            (b)        authorizes on-premises consumption of alcoholic beverages.

 18

 19            NEW SECTION. Section 2.             Restrictions on sexually oriented adult-oriented businesses --

 20    penalty. (1) A sexually oriented An adult-oriented business may not allow a person under 18 years of age to

 21    enter the premises of the business DURING A LIVE NUDE PERFORMANCE OR DRAG an adult-oriented PERFORMANCE.

 22            (2)        The owner, operator, manager, or employee of a sexually oriented business who is convicted

 23    of violating this section shall be fined not less than $1,000 or more than $5,000 for the first offense, not less

 24    than $2,500 or more than $5,000 for the second offense, and for third and subsequent offenses be fined

 25    $10,000 and, if applicable, the county or municipality shall revoke the business license held by the offender.

 26            (3)        [Sections 1 through 3] are applicable and uniform throughout the state and any political

 27    subdivisions.



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  2            NEW SECTION. Section 3.        Drag WHERE DRAG adult-oriented performances ARE prohibited in

  3    publicly funded libraries or schools. (1) A library that receives any form of funding from the state may not

  4    allow a drag adult-oriented performance OR DRAG STORY HOUR as defined in [section 1] on its premises during its

  5    regular operating hours.

  6            (2)      A school, AS DEFINED IN 20-6-501, that receives any form of funding from the state may not

  7    allow a drag an adult-oriented performance OR DRAG STORY HOUR as defined in [section 1] on its premises

  8    during school hours or at any school-sanctioned extracurricular activity.

  9            (3)      A MUSEUM THAT RECEIVES ANY FORM OF FUNDING FROM THE STATE MAY NOT ALLOW A DRAG

 10    PERFORMANCE OR DRAG STORY HOUR AS DEFINED IN [SECTION 1] ON ITS PREMISES.

 11            (4)      ANY FACILITY WHERE AT LEAST 10% OF ITS OPERATING BUDGET IS FUNDED BY THE STATE OR LOCAL

 12    GOVERNMENT OR MUNICIPALITY MAY NOT HOST A DRAG PERFORMANCE OR DRAG STORY HOUR AS DEFINED IN [SECTION

 13    1].

 14            (3)      A DRAG PERFORMANCE IS PROHIBITED:

 15            (A)      ON PUBLIC PROPERTY IN ANY LOCATION WHERE THE PERFORMANCE IS IN THE PRESENCE OF AN

 16    INDIVIDUAL UNDER THE AGE OF 18; AND

 17            (B)      IN A LOCATION OWNED BY AN ENTITY THAT RECEIVES ANY FORM OF FUNDING FROM THE STATE.

 18            (3)      An adult-oriented performance is prohibited:

 19            (a)      on public property in any location where the performance is in the presence of an individual

 20    under the age of 18; and

 21            (b)      in a location owned by an entity that receives any form of funding from the state.

 22            (3)(4)   A library, a school, or OR library or school personnel, A PUBLIC EMPLOYEE, OR AN ENTITY

 23    DESCRIBED IN SUBSECTION (3)(B) OR AN EMPLOYEE OF THE ENTITY , a public employee, or an entity described in

 24    subsection (3)(b) or an employee of the entity convicted of violating the prohibition under this section shall be

 25    fined $5,000 and, if applicable, the board of public education shall initiate proceedings MUST BE INITIATED to

 26    suspend the teacher, administrator, or specialist certificate of the offender under 20-4-110 for 1 year. If an

 27    offender's certificate has previously been suspended pursuant to this subsection (3) (4), the board of public



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  1    education shall initiate proceedings MUST BE INITIATED to permanently revoke the teacher, administrator, or

  2    specialist certificate of the offender under 20-4-110 on a subsequent violation of this section.

  3

  4              NEW SECTION. Section 4.        Codification instruction. (1) [Sections 1 and 2] are intended to be

  5    codified as an integral part of Title 45, chapter 8, and the provisions of Title 45, chapter 8, apply to [sections 1

  6    and 2].

  7              (2)    [Section 3] is intended to be codified as an integral part of Title 20, chapter 7, part 1, and the

  8    provisions of Title 20, chapter 7, part 1, apply to [section 3].

  9

 10              NEW SECTION. SECTION 5.        SEVERABILITY. IF A PART OF [THIS ACT] IS INVALID, ALL VALID PARTS THAT ARE

 11    SEVERABLE FROM THE INVALID PART REMAIN IN EFFECT. IF A PART OF [THIS ACT] IS INVALID IN ONE OR MORE OF ITS

 12    APPLICATIONS, THE PART REMAINS IN EFFECT IN ALL VALID APPLICATIONS THAT ARE SEVERABLE FROM THE INVALID

 13    APPLICATIONS.

 14

 15              NEW SECTION. SECTION 6.        EFFECTIVE DATE. [THIS ACT] IS EFFECTIVE ON PASSAGE AND APPROVAL.

 16                                                            - END -




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